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                         EXHIBIT G
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      1    days, was it a couple of weeks, was it several months?
      2          A.    I believe it was over a few months.
      3          Q.    Okay.    When did they start?
      4          A.    I believe it would have started in early
      5    March.
      6          Q.    And did they end in April?
      7          A.    My recollection was the end of April.
      8          Q.    So about two months?
      9          A.    Right around there.
     10          Q.    Did you independently research the FCRA at all
     11    when you were having these discussions?
     12          A.    I did not.
     13          Q.    Whose ultimate decision was it to change the
     14    form in 2016?
     15          A.    That would be our legal, our outside counsel
     16    and inside counsel.
     17          Q.    So the lawyers were empowered with making the
     18    ultimate decision?
     19          A.    Yes.    I did not make any changes to the form.
     20          Q.    Just the lawyers?
     21          A.    Correct.
     22          Q.    Did that decision from the lawyers need to be
     23    approved by anyone on the business side?
     24          A.    Not that I recall.
     25          Q.    Have you ever received any training yourself



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      1    center team as well.
      2          Q.    And is she still with the company?
      3          A.    She is.
      4          Q.    In that same capacity?
      5          A.    Correct.
      6          Q.    With respect to background checks, what does
      7    the training cover?
      8                      MS. TROTTER:      I'm going to object.       I
      9    think you're now getting into attorney-client privileged
     10    communication.      This is counsel directed and it was
     11    information specific to 7-Eleven, so I'm going to object
     12    and instruct her not to answer.
     13                      MR. WOODROW:      Okay.
     14                      MS. TROTTER:      The line we had tried to
     15    draw here in communications with you and I think what
     16    our agreed-upon understanding was, that we'd let her
     17    testify broadly without getting into the specifics of
     18    any communication because it's always been our position,
     19    as communicated to you, that we're maintaining the
     20    privilege and that was the compromise that we reached
     21    ahead of time.
     22                      MR. WOODROW:      Yeah.   I'm trying to figure
     23    out if the privilege actually applies.           It seems like
     24    the legal was tasked with making a business decision
     25    here and that opens things up.          So what I think we



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      1    should do is table those questions, take them to the
      2    court, have them decide any issues on privilege, and
      3    then if we need to come back, we can.
      4                      MS. TROTTER:      I don't think this witness
      5    has testified as to who made the business decision or
      6    would she be qualified to do so.
      7                      MR. WOODROW:      She testified literally two
      8    minutes ago that the lawyers made the decision.
      9                      MS. TROTTER:      No, she didn't.
     10                      MR. WOODROW:      Yes, she did.
     11                      MS. TROTTER:      She said -- she testified
     12    that she did not make the decision, that she did not
     13    change the form and that the lawyers had the ultimate
     14    say.    That -- that means nothing more than it was the
     15    lawyers' version that was implemented.
     16                      MR. WOODROW:      Now you're testifying,
     17    Counsel, and that's inappropriate.          It's not what she
     18    said.    It mischaracterizes her testimony.
     19                      MS. TROTTER:      I disagree.
     20                      MR. WOODROW:      Counsel, she said that the
     21    lawyers have the final decision.          I asked if anyone
     22    needed -- if the business side needed to sign off on it
     23    and she said no.      Counsel --
     24                      MS. TROTTER:      Do you know if anyone on
     25    the business side needed to sign off on it?



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      1    said earlier on the record she did not change the form.
      2    Okay.    You're trying to say that she testified
      3    exclusively that it was a business decision of the
      4    lawyers, and that is a misstatement of her testimony.
      5          Q.    (BY MR. WOODROW) Did the lawyers make the
      6    decision with respect to the final form?
      7                      MS. TROTTER:      If you know.
      8          A.    The lawyers drafted the final version, yes.
      9          Q.    Did those lawyers need to seek sign-off from
     10    anyone on the business side?
     11                      MS. TROTTER:      Calls for speculation, lack
     12    of foundation.
     13                      Only if you know.
     14          A.    Not that I'm aware of.
     15                      MR. WOODROW:      Okay.   It does open it up,
     16    Counsel.
     17                      MS. TROTTER:      It doesn't.     We can meet --
     18                      MR. WOODROW:      We can --
     19                      MS. TROTTER:      -- and confer about that
     20    later.
     21                      MR. WOODROW:      And that's what I'm saying
     22    is that we're disagreeing.         So why don't we agree to
     23    table it, we'll meet and confer.          If we can't agree,
     24    we'll take it to the judge.
     25                      MS. TROTTER:      That's fine.     Yeah, you can



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      1    table all those questions, but I think that you had
      2    misstated her testimony on the record earlier, and
      3    that's what I wanted to make sure it's clear.
      4                       MR. WOODROW:     Well, the good news is that
      5    we have a court reporter here so everything's been
      6    written down.
      7                       MS. TROTTER:     Okay.
      8          Q.    (BY MR. WOODROW) So I'd like to show you
      9    what's going to be marked as Exhibit --
     10                       COURT REPORTER:      4.
     11          Q.    -- 4.
     12                       (Exhibit No. 4 marked.)
     13          Q.    Real quick, before we go back, did Chrissy
     14    Smith have any -- do any independent research regarding
     15    the FCRA back in April 2016?
     16                       MS. TROTTER:     Calls for speculation,
     17    lacks foundation.
     18          A.    I don't know.
     19          Q.    Take a look at what's been presented to you as
     20    Exhibit 4.
     21          A.    Okay.
     22          Q.    Do you recognize this document?
     23          A.    Yes.
     24          Q.    What is it?
     25          A.    This is the original contract with TalentWise.



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